     Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 1 of 9 Page ID #:1184



 1                         DECLARATION OF JOHN L. LITTRELL
 2 I, John L. Littrell, declare as follows:
 3         1.     I am a partner at the law firm Bienert Katzman Littrell Williams LLP, and
 4 counsel to Congressman Jeffrey Lane Fortenberry in this matter. I submit this declaration
 5 in support of Congressman Fortenberry’s Motion to Transfer this Case to the District of
 6 Nebraska pursuant to Fed. R. Crim. P. 21.
 7         2.     Attached hereto as Exhibit A is a true and correct copy of the United States
 8 District Court’s Judicial Caseload Profile for Nebraska, available at:
 9 https://www.uscourts.gov/sites/default/files/%0bdata_tables/fcms_na_distprofile0630.202
10 1.pdf
11         3.     Attached hereto as Exhibit B is a true and correct copy of the United States
12 District Court’s Judicial Caseload Profile for the Central District of California, available at:
13 https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2021.pd
14 f.
15         4.     On January 21, 2022, I called Beth Hillman, Jury Administrator for the United
16 States District Court for the District of Nebraska, to request information about the status of
17 jury trials in that district. Ms. Hillman told me that Jury trials continue to be held in the
18 District notwithstanding COVID-19. She indicated that the Court has taken precautions to
19 keep the courthouse safe and maintain jury trials during the pandemic. These precautions
20 include summoning more jurors than the Court otherwise would and maintaining a social
21 distance of three feet between jurors. In times of substantial or high transmission, parties
22 are required to wear masks in public spaces. Ms. Hillman referred me to a Message from
23 the Chief Judge regarding current COVID-19 precautions that were in place. That message
24 is attached here as Exhibit C, and available online at:
25 https://www.ned.uscourts.gov/internetDocs/jury/COVID_Message_from_Chief_Judge.pd
26 f
27         5.     Later that day I also spoke with Gabriela Acosta, the Chief Deputy Clerk for
28 the United States District Court for the District of Nebraska. She confirmed that jury trials
                                               1
                                 DECLARATION OF JOHN L. LITTRELL
     Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 2 of 9 Page ID #:1185



 1 are being commenced in the district and that there were jury trials set for February 2022.
 2         6.    The defense met and conferred with the government regarding its intention to
 3 seek transfer to the District of Nebraska as follows: On Friday, January 14, 2022, defense
 4 counsel met and conferred via Microsoft Teams with counsel for the government and
 5 indicated that the defense would seek a transfer of this case to the District of Nebraska. On
 6 Friday, January 21, 2022, the defense again alerted the government of its intention to seek
 7 a transfer of this case to the District of Nebraska and asked to meet and confer about the
 8 motion. The defense identified the Platt factors and asked that the government identify its
 9 witnesses and their place of residence so that the defense could provide that information to
10 the Court in support of factor No. 2 (location of the witnesses). The defense also asked that
11 the government consent to having the motion heard on an expedited schedule.
12         The government responded that its first availability to meet and confer was Monday,
13 January 24, 2022. On Monday, January 24, the parties met and conferred. The government
14 provided the defense with the location of its prospective witnesses and agreed to an
15 expedited briefing schedule, but it declined to stipulate to a transfer to Nebraska.
16         I declare under penalty of perjury of the laws of the United States of America that
17 the foregoing is true and correct. Executed this 24th day of January, 2022, in San Clemente,
18 California.
19                                                ____________________________
20                                                          John L. Littrell
21
22
23
24
25
26
27
28
                                              2
                                DECLARATION OF JOHN L. LITTRELL
Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 3 of 9 Page ID #:1186




              EXHIBIT A
                  Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 4 of 9 Page ID #:1187

                                                                               U.S. District Court — Judicial Caseload Profile
NEBRASKA                                                                                   12-Month Periods Ending

                                                                Jun 30          Jun 30              Jun 30       Jun 30              Jun 30        Jun 30
                                                                 2016            2017                2018         2019                2020          2021                      Numerical
                                                                                                                                                                              Standing
                                    Filings ¹                       1,643            1,529               1,616        1,654             1,444         1,508                    Within
                                 Terminations                       1,514            1,704               1,592        1,538             1,452         1,373               U.S.       Circuit
    Overall
   Caseload                         Pending                         1,252            1,084               1,141        1,237             1,231         1,348
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                         -8.2               -1.4             -6.7         -8.8               4.4                             25              3
                                    Number of Judgeships                  3                3                 3              3                 3             3
                            Vacant Judgeship Months ²                12.0                12.0             12.0         18.9               0.8             0.0
                                            Total                     548                510              539          551               481             503              36              5
                                            Civil                     254                217              247          240               227             249              63              6
                                            Criminal
                          Filings                                                                                                                                         13              4
                                            Felony                    201                190              184          206               175             185
                                            Supervised
   Actions                                  Release
per Judgeship                               Hearings                      92             103              108          105                  79            69              15              4
                               Pending Cases ²                        417                361              380          412               410             449              59              6
                              Weighted Filings ²                      534                474              505          510               446             496              27              1
                                 Terminations                         505                568              531          513               484             458              41              5
                              Trials Completed                            18              21               20           20                  14            16              29              7
                                            Criminal
                      From Filing to        Felony                    9.0                 9.0              9.2          8.5               9.9            11.3             29              4
   Median              Disposition
                                            Civil ²                   7.9                 9.9              7.5          8.3               8.4             7.1             14              2
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                          32.6                28.0                -         24.4                   -             -              -              -
                              Number (and %)
                               of Civil Cases                         43                  30               23           33                38              37
                              Over 3 Years Old ²                      6.3                 5.6              3.9          5.1               5.7             5.7             27              6
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                          1.3                 1.2              1.2          1.2               1.1             1.2
                                 Avg. Present for
                                 Jury Selection                      35.0                28.6             32.7         30.4              35.4            37.3
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                          21.1                 9.4             11.7          9.7              26.1            24.8

                                      2021 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A             B         C              D                E            F          G               H            I          J         K           L
        Civil                 747           28            39        193             4                8           30             77            92          10        131          -        135
     Criminal ¹               554               3         225       45             109              36           34             66            3             6        8         10             9

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 5 of 9 Page ID #:1188




              EXHIBIT B
                  Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 6 of 9 Page ID #:1189

                                                                               U.S. District Court — Judicial Caseload Profile
CALIFORNIA CENTRAL                                                                         12-Month Periods Ending

                                                                Jun 30          Jun 30              Jun 30        Jun 30             Jun 30           Jun 30
                                                                 2016            2017                2018          2019               2020             2021                     Numerical
                                                                                                                                                                                Standing
                                    Filings ¹                       16,810          16,551            17,347           18,056         17,659           17,597                    Within
                                 Terminations                       16,719          16,583            16,253           16,960         16,988           18,070               U.S.      Circuit
    Overall
   Caseload                         Pending                         12,539          12,488            13,597           14,682         15,164           14,655
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                          4.7                6.3              1.4           -2.5            -0.4                               40             7
                                   Number of Judgeships                   28              28               28             28                28               28
                            Vacant Judgeship Months ²                 25.1               48.9             68.7           85.8           111.9               91.5
                                            Total                     600                591              620            645             631                628             17             5
                                            Civil                     532                518              536            553             570                565              9             3
                                            Criminal
                          Filings                                                                                                                                           84          12
                                            Felony                        40              41               50             60                38               41
                                            Supervised
   Actions                                  Release
per Judgeship                               Hearings                      28              33               33             32                22               23             58          13
                               Pending Cases ²                        448                446              486            524             542                523             45             7
                              Weighted Filings ²                      566                567              618            669             681                691             10             3
                                 Terminations                         597                592              580            606             607                645             13             4
                              Trials Completed                            10              13               11             12                  7                4            89          15
                                            Criminal
                      From Filing to        Felony                    17.9               14.7             13.2           13.3            14.7               17.8            80          14
   Median              Disposition
                                            Civil ²                    5.0                4.8              5.0            5.0             4.7                4.9             3             1
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                           19.8               20.0             20.0           22.0            21.2               20.8             6             1
                              Number (and %)
                               of Civil Cases                         556                540              552            612             634                831
                              Over 3 Years Old ²                      5.7                5.5              5.2            5.5             5.4                7.5             38             4
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                           1.6                1.5              1.6            1.6             1.5                1.4
                                 Avg. Present for
                                 Jury Selection                       54.7               48.1             42.6           48.5            63.2               46.4
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                           55.2               44.9             43.3           47.9            60.1               47.0

                                     2021 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A             B         C              D                E            F            G             H               I          J        K          L
        Civil            15,810         1,194             296   1,286              94               218          531      1,540             980         1,254      6,019         15    2,383
     Criminal ¹            1,140            11            361        70            198              260          56             43                -          40        10        19            72

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 7 of 9 Page ID #:1190




              EXHIBIT C
   Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 8 of 9 Page ID #:1191


                                UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEBRASKA
Denise M. Lucks                          OFFICE OF THE CLERK                                             Gabriela Acosta
Clerk of Court                                    www.ned.uscourts.gov                                Chief Deputy Clerk




                                       Message from the Chief Judge

The U.S. District Court for the District of Nebraska is committed to the safety and well-being of jurors,
parties, practitioners, witnesses, and court staff. We are closely following and reinforcing the guidelines
from the CDC and local health authorities. We have taken precautionary measures to limit the potential
spread of the COVID-19 virus while ensuring that we are able to safety conduct judicial proceedings.
We ask that you fulfill your obligation as a juror so the justice system can continue to function.

All persons in a federal courthouse in Nebraska, including fully vaccinated persons, shall wear a face
covering in public spaces in the courthouse when community transmission is substantial or high based
on the CDC COVID Data Tracker. Persons who are not fully vaccinated in a federal courthouse in
Nebraska shall continue to wear a face covering in public spaces in the courthouse regardless of the
level of community transmission. You may bring your own face covering, or the court will provide you
with one.

The precautions the court is taking include, but are not limited to, the following:

   •   Seating with 3-foot social distancing will be marked for chairs and benches in the courtrooms.
   •   Hand sanitizer will be available throughout the courthouse and the courtrooms.
   •   Bottled water will be provided.
   •   Amenities such as refrigerators, microwaves, and Keurig machines are available for jurors’ use.

Please do not report to the courthouse if you answer “yes” to the following questions at any point during
your jury service. Contact the jury clerk immediately so that a possible postponement can be
discussed.

   1. Have you been asked to self-quarantine by any health care provider or public official in the last
      14 days?

   2. Have you been diagnosed with COVID-19 in the last 14 days?

   3. Are you presently exhibiting symptoms consistent with COVID-19, including a fever of 100.4ºF or
      above, a sudden onset of a cough or shortness of breath, or a new loss of taste or smell?

For all other jurors who do not fall into any of the categories above, please remain available to
serve, unless you are eligible to postpone your service for other reasons or hardships.




                                111 South 18th Plaza, Suite 1152, Omaha, NE 68102-1322
                         Omaha: (402) 661-7350      Fax: (402) 661-7387   Toll Free: (866) 220-4381
                        Lincoln: (402) 437-1900     Fax: (402) 437-1911   Toll Free: (866) 220-4379
   Case 2:21-cr-00491-SB Document 87-1 Filed 01/24/22 Page 9 of 9 Page ID #:1192




                                   Jury Clerk Contact Information

                                               omaha-jury@ned.uscourts.gov
        For jurors reporting to Omaha
                                               1-866-220-4381, option 6

                                               lincoln-jury@ned.uscourts.gov
        For jurors reporting to Lincoln
                                               1-866-220-4379, option 6

                                               northplatte@ned.uscourts.gov
        For jurors reporting to North Platte
                                               1-866-220-4381, option 6


Thank you for your understanding and service during this challenging time.

                                                            Sincerely,


                                                            Robert F. Rossiter, Jr.
                                                            Chief U.S. District Court Judge
